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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                             1/15/2021
 Samantha Siva Kumaran, et al.,

                                   Plaintiffs,
                                                               1:20-cv-03668 (GHW) (SDA)
                    -against-
                                                               ORDER
 National Futures Association, et al.

                                   Defendants.


STEWART D. AARON, United States Magistrate Judge:

       On August 22, 2020, Plaintiff Kumaran filed a Letter Motion to seal the Guarantee and

Fee Agreement that was belatedly filed as an exhibit to the Complaint. (Letter Motion, ECF No.

30.) In her Letter Motion, Plaintiff Kumaran stated that she did not believe the exhibit should be

filed under seal, but did so out of an “abundance of caution” because of a Confidentiality Order

in related arbitration proceedings through which she obtained the document. (See id. at 1.)

       On January 14, 2021, Plaintiffs filed an Amended Complaint which includes the same

document as an exhibit. (See Am. Compl. ¶¶ 148, 735, ECF No. 58-1.) Thus, Plaintiffs appear to

renew the request to seal that exhibit. (See ECF No. 58 (referencing ECF No. 30).) Plaintiffs also

have filed under seal another exhibit to the Amended Complaint that was not the subject of

Plaintiff Kumaran’s prior motion. (See ECF No. 58-1 at 1-5; see also Am. Compl. ¶ 70.) Accordingly,

it is hereby Ordered as follows:

       1. Plaintiff’s Letter Motion at ECF No. 30 is denied as moot.

       2. In accordance with the Court’s Individual Practices for sealing requests based on

           another party’s designation of documents or information as confidential, the parties shall,
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         no later than Friday, January 22, 2021, file a joint letter setting forth their respective

         positions with respect to sealing the documents in ECF No. 58-1.

SO ORDERED.

DATED:        New York, New York
              January 15, 2021

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                                                    STEWART D. AARON
                                                    United States Magistrate Judge




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